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                                     August 25, 2023




VIA CM/ECF


Office of the Clerk
United States Court of Appeals for the Seventh Circuit
Everett McKinley Dirksen United States Courthouse
219 S. Dearborn St.
Room 2722
Chicago, IL 60604

       Re:     Gilbank v. Wood Cnty. Dep’t of Human Servs. et al., No. 22-1037
               Fed. R. App. P. 28(j) Citation of Supplemental Authority

To the Office of the Clerk of the Seventh Circuit Court of Appeals:
       Appellees submitted Waller v. Waller, No. 23-3077, 2023 WL 5273769 (10th
Cir. Aug. 16, 2023)—an unpublished order rejecting the arguments of a pro se appel-
lant. Appellees claim Waller supports their position. But Appellees mischaracterize
Gilbank’s arguments, and Waller is unpersuasive in any event.
        First, according to Appellees, Gilbank argues that if a federal plaintiff seeks
monetary damages, then Rooker-Feldman categorically doesn’t apply. This is a straw
man. Gilbank rather argues that, in determining whether a federal plaintiff seeks
“review and rejection” of a state-court judgment, courts must compare the requested
relief to the relief granted (or denied) by the state court. Reply Br. 6–7.
       The Waller court did not perform that analysis—or otherwise say anything
about whether requesting monetary damages precludes Rooker-Feldman’s applica-
tion. The court merely noted that, in a prior state-court case, Waller brought claims
for defamation, libel, and slander. Waller, 2023 WL 5273769, at *2. In other words,
Waller previously sought monetary damages in state court. Id. Waller later made the
same demand in federal court. Id. He sought to invoke federal appellate jurisdiction
over his rejected state-court claims. Here, by contrast, Gilbank makes a demand that


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she did not (and could not) make in state court, so she cannot be seeking review or
rejection of the state-court orders. Reply Br. 6–7, 13–15.
        Second, Waller is a paradigmatic example of a court conflating Rooker-Feld-
man with preclusion. Rather than asking whether Waller sought to invoke federal
appellate jurisdiction, the court framed its analysis in terms of comity and respect for
the state court’s conclusions. Waller, 2023 WL 5273769, at *2. The court held that,
because the state court had already rejected Waller’s allegations, he was inviting re-
view and rejection of a state-court judgment. Id. But Rooker-Feldman does not apply
merely because a federal plaintiff asks the federal court to “den[y] a legal conclusion
a state court has reached.” Exxon, 544 U.S. 280, 293 (2005) (quoting GASH Assocs. v.
Vill. of Rosemont, 995 F.2d 726, 728 (7th Cir. 1993)); Reply Br. 10–11.


                                             Respectfully submitted,

                                             HUSCH BLACKWELL LLP

                                             /s/ Joseph S. Diedrich

                                             Joseph S. Diedrich
                                             Senior Associate


cc:   Counsel of record (via ECF)




                                                                          Husch Blackwell LLP
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                        CERTIFICATE OF COMPLIANCE

      I certify that the body of this letter does not exceed 350 words.

      Dated: August 25, 2023
                                         /s/ Joseph S. Diedrich
                                         Joseph S. Diedrich




                                                                          Husch Blackwell LLP
